                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION


 FS MEDICAL SUPPLIES, LLC,

                         Plaintiff,

 v.                                                       Civil Action No. 3:21-CV-00501

 TANNERGAP, INC. and TANNER
 PHARMA UK LIMITED;

                         Defendants.


      CONSENT MOTION TO EXTEND TIME TO COMPLETE JURISDICTIONAL
                             DISCOVERY

       Plaintiff FS Medical Supplies, LLC (“Plaintiff”) moves to extend the time by which the

parties are required to complete jurisdictional discovery from June 17, 2022, to July 29, 2022.

       All parties have consented to this Motion.

       I.      The Parties’ Agreement and the Court’s Order Allowing Jurisdictional

               Discovery

       On December 6, 2021, Defendants TannerGap, Inc. and Tanner Pharma UK Limited

(“Defendants”) moved to dismiss Plaintiff’s Complaint for lack of personal jurisdiction over

Defendant Tanner Pharma UK Limited, forum non conveniens, and for failure to state a claim.

(Doc. Nos. 15 and 16.)

       The parties thereafter agreed to conduct discovery related to Defendants’ motion to dismiss

for lack of personal jurisdiction.     On January 14, 2022, Plaintiff filed a Notice of Parties’

Agreement to Conduct Discovery and Motion to Stay Time for Plaintiff’s Response to Defendant’s

Motion to Dismiss. (Doc. 19.) In the Notice, Plaintiff advised the Court that the parties agreed



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to conduct discovery concerning Defendants’ motion and that the parties expected to complete

such discovery by April 14, 2022.

        Based upon the Honorable Magistrate Judge David Keesler’s Memorandum and

Recommendation dated January 18, 2022, to which no party objected, this Court granted the

motion (the “Order”), dismissed without prejudice Defendants’ motion to dismiss, ordered the

parties to complete jurisdictional discovery by April 14, 2022, and stayed all briefing and motions

unrelated to discovery through that date. (Doc. 21.) The Court’s Order further set deadlines of

April 22, 2022, for Plaintiff to file an Amended Complaint or notice of intent not to amend, and

May 6, 2022, for Defendants to file an Answer, a renewed motion to dismiss, or otherwise respond

to the Complaint or Amended Complaint, if applicable. (Id.)

        II.    April 8, 2022, Order Extending Time to Complete Jurisdictional Discovery

        On April 7, 2022, Plaintiff filed a Consent Motion to Extend Time to Complete

Jurisdictional Discovery. (Doc. 22.) On April 8, 2022, this Court granted the motion, ordering

that the parties shall have up to and including June 17, 2022, to conduct jurisdictional discovery;

that Plaintiff shall have up to and including June 24, 2022, to file an Amended Complaint or notice

of intent not to amend; and that Defendants shall then file an Answer, a renewed motion to dismiss,

or otherwise respond to the Complaint or Amended Compliant on or before July 8, 2022.

        III.   The Parties Require Additional Time to Complete Jurisdictional Discovery

        The parties have engaged in substantial jurisdictional discovery. On February 4, 2022,

Plaintiff served on each Defendant a First Set of Interrogatories and Requests for Production of

Documents. Defendants served initial responses to Plaintiff’s discovery on March 14, 2022, and

following the parties’ meet and confer engagements, served supplemental responses on May 23,

2022.



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       The discovery likewise implicates a large volume of electronically stored information.

Defendants have produced more than 28,000 pages in discovery from April 15, 2022, through May

20, 2022. Plaintiff anticipates that it will take several more weeks to complete its review of the

document productions.

       The parties also require additional time to complete the two Rule 30(b)(6) depositions.

Plaintiff intends to take the depositions two weeks prior to the completion of jurisdictional

discovery and following their review of Defendants’ document production. Defendants’ witnesses,

however, are unavailable in the first week of June, and their availability the following weeks is

limited due to vacations and government holidays, including the Platinum Jubilee holiday in the

United Kingdom. Counsel for Plaintiff and Defendants also each have planned vacations and or

family leave in June that further restricts deposition availability in the coming weeks.

       The parties anticipate that the requested extension is sufficient to allow for the completion

of jurisdictional discovery. The parties have diligently and in good faith pursued taking and

responding to the jurisdictional discovery, and this motion is not made for an improper purpose or

to needlessly delay the case. The process is simply taking longer than the parties initially expected

and is an unanticipated consequence of large amounts of electronically stored information, meet

and confer efforts regarding the scope of discovery, and witness availability. Accordingly,

Plaintiff moves to extend the time by which jurisdictional discovery must be completed to July 29,

2022, and to correspondingly adjust the other deadlines set in the Order. The parties have

conferred, and Defendants consent to the entry of an Order to allow this motion.

       WHEREFORE, Plaintiff moves this Court for an Order:

       A. Extending the time by which the parties are required to complete jurisdictional

           discovery from June 17, 2022, to July 29, 2022;



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B. Extending Plaintiff’s deadline to file an Amended Complaint, or notice of intent not to

   amend, to August 5, 2022;

C. Extending Defendants’ deadline to file an Answer, a renewed motion to dismiss, or

   otherwise respond to the Complaint/Amended Complaint to August 19, 2022; and

D. For such further relief as the Court deems proper and just.

This the 2nd day of June, 2022.

                                     /s/ David A. Luzum______________________
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